                    Case 1:17-cv-00891-KOB-HNJ Document 1 Filed 05/31/17 Page 1 of 9                                                                                        FILED
                                                                                                                                                                   2017 May-31 PM 04:26
                                                                                                                                                                   U.S. DISTRICT COURT
                                                                                                                                                                       N.D. OF ALABAMA




Pro Se 14 (Rev, G9/t6) Complainl for Vioblion ofCivfl R.ight~ (Prisoner)



                                      UNITED STATES DISTRICT COURTe) ~ '::'
                                     NORTHERN DISTRICT OF ALABAMA :--,

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(Write your full name. No more than one plaintiffmay be named in                                             '" • ">-'.     ~.;   ...: •    _, I   1___ \.' \,',       ;
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a complaint,)                                                                    )                                                             ... , "      "      ,
                                        -v-                                      )    Case No,

 ;n                                                                              )               (10 be filled in    by the Clerk's Office)

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                           Deftndanl(s)
(Write thefi'll name ofeaeh deftndantwho is being sued. ifthe                    )
names ofall ofthe defendants cannot fil in Ihe space ahave, please               )
write "see attachecf'in the space and aUach an additional page                   )
with the jUllUst ofnames. Do not include addresses here. Your                    )
complaint may be brought in this court only Ifone or more ofthe                  )
named defendants is (ocaledwith"Ir this district.)


                              COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                                                      (Prisoner Complaint)


                                                                           NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial
account number. A filing may include only: the last four digits of a social security number; the year of an
individual's birth; a minor's initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk's Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee of$400.00 or an Application to
Proceed In Forma Pauperis,

Mail the original complaint and the filing fee of$400,00 or an Application to Proceed In Forma Pauperis to the
Clerk of the United States District Court for the Northern District of Alabama, Room 140, Hugo L. Black U.S.
Courthouse, 1129 5th Avenue North, Birmingham, Alabama 35203-2195.




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I. 	   Tbe Parties to tbis Complaint

A. 	   The Plaintiff

       . Provide the information below for the plaintiff named in the complaint.

          Name
          All other names by which
          you have been known:
           lDNumber                        7S7 S 1
          Current Instituti on
           Address
                                                                                               36/~       I
                                                                                                   ZipCacie


B. 	   Tbe Defendant(s)

       Provide the information below for each defendant named in the complaint, whether the defendant is an
       individual, a government agency, an organization, or a corporation. Make sure that the defendant(s) listed
       below are identical to those contained in the above caption. For an individual defendant, include the
       person's job or title (ifknawn) and check whether you are bringing this complaint against them in their
       individual capacity or official capacity, or both. Attach additional pages ifneeded.

       Defendant No. J
           Name
           Job or Title (ifknown)
           Shield Number
           Employer
          Address




       Defendant No.2

          Name
          Job or Title (ifknown)
          Shield Number
          Employer
          Address




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      Defendant No.3
          Name 

          Job or Title (if known) 

          Shield Number 

          Employer 

          Address 


                                                                                  State
                                                                                               36lwl
                                                                                                 Zip Code

                                                                          o      Official Capacity

      Defendant No.4

          Name
          Job or Title (ifknown)
          Shield Number
          Employer
          Address

                                                    ,	   VCity
                                                                                                0B{la!
                                                                                  Slate              Zip Code

                                              1El/Individual Capacity     o      Official Capacity


II.     Basis for Jurisdictiou

        Under 42 U.S.C. § 1983, you may SUe state or local officials for the "deprivation ohny rights,
        privileges, or immunities secured by the Constitution and [federal law]." Under Bivens v. Six Unknown
        Named Agents ojFederal Bur,eau ojNarcotics, 403 U.S. 388 (1971), you may sue federal officials for
        the violation of certain constitutional rights.

        A. 	 Are you bringing suit against (check all that apply):

             o?eral officials (a Bivens claim) 

             [l,Jj   State or local officials (a § 1983 claim) 

        B. 	 Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities,
             secured by the Constitution and [federal laws]." 42 U.s.C. § 1983. If you are suing under section
             1983, what federal constitutional or statutory right(s) do you claim isfare being violated by state or
             local officials?                                                     r
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             lb Plf.S~ Aia, Afl.1tl b'tinQ .L.t?\.-dul WOlf\' L.fwil \ UrJ~slMl K.1rJ'I:>h''l.I~l\+ '
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       C.   Plaintiffs suing under Bivens may only recover for violation of certain constitutional rights. If you
            are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
            officials?    a    ."" .
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            J/Av'£Vr()Ip.Ad II;~ Ifl !trY! I'I''£' !l;nJu7dtfi"iliJ,
                                               le
                                                                                  .
       D. 	 Section 1983 allows defendants to be found liable only when they have acted "under color of any
            statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of
            Columbia." 42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant
            acted under color of state or local law. If you are suing under Bivens, explain how each defendant
            acted under color of federal law. Attach additional pages if needed.          iI'              /        j
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ill.   Prisoner Status

       Indicate whether you are a prisoner or other confined person as follows (check all that apply):

       ~~retrial Detainee
       o 	 Civilly committed detainee
       o 	 Immigration detainee
       o 	 Convicted and sentenced state prisoner
       o 	 Convicted and sentenced federal prisoner
       o 	 Other
            (explain)

IV,    Statement of Claim

       State as briefly as possible the facts of your case. Describe how each defendant was personally involved
       in the alleged wrongful action, along with the dates and locations of all relevant events. You may wish to
       include furtber details such as the names of other persons involved in tbe events giving rise to your
       claims. Do not cite any cases or statutes. If more than one claim is asserted, number each claim and write
       a short and plain statement of each claim in a separate paragraph. Attach additional pages ifneeded.

       A. 	 If the events giving rise to your claim arose outside an institution, describe where and when they
            arose.
                                             .!      ;1
                                        t
       B. 	 If the events giving rise to your claim arose in an institution, describe where and when they arose.
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        C.   What date and approximate time did the events giving rise to your claim(s) occur?
                      9.'tJt)I/Ii4 f)/)    6-3 -?LJI?

        D.   What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
              Was anyone else iJWolved? Who else saw what hap~ned?)              '7
                                                           '''''I. l  /')"/­
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V. 	    Injuries

        If you sustained injuries related to the events alleged above, describe your injuries in detail .
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VI. 	   Relief

        State briefly what you want the courtto do for you. Make no legal arguments. Do notcite any cases or
        statutes. If requesting money damages, include the amounts of any actual damages and/or punitive
        damages claimed for the acts alleged. Explain the basis for these claims.
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vn.   Exhaustion of Administrative Remedies Admiulstrative Procedures

      The Prison Litigation Refonn Act ("PLRA"), 42 U.S.C. § 1997(a), requires that "[nlo action shall be
      brought with respect to prison conditions under section 1983 of this title, or any other Federal law, by a
      prisoner confined in any jail, prison, or other correctional facility until such administrative remedies as
      are available are exhausted."

      Administrative remedies are also known as grievance procedures. Your case may be dismissed if you
      have not exhausted your administrative remedies.

      A. 	 Did your claim(s) arise while you were confined in ajail, prison, or other correctional facility?

           m/Yes
           o 	 No
           If yes, name the jail, prison, or other correctional facility where you were confined at the time of
           the events giving rise to XQUf claim(s).

          1A'llldf:JII1h~i----
      B. 	 Does the jail, priS()n, or other correctional facility where your claim(s) arose have a grievance
           procedure?




           o 	 Donotknow
      C. 	 Does the grievance procedure at the jail, prison, or other correctional mcility where your claim(s)
           arose cover some or all of your claims?

           o Yes 

           00--< 

           o    Donotknow 


           If yes, which claim(s)? 





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IX.   Certification and Closing

      Under Federal Rule of Civil Procedure II, by signing below, I certifY to the best of my knowledge,
      information, and belief that this complaint: (1) is not being presented for an improper purpose, such as
      to harass, cause unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by
      existing law or by a nonfrivolous argument for extending, modifYing, or reversing existing law; (3) the
      factual contentions have evidentiary support or, if specifically so identified, will likely have evidentiary
      support after a reasonable opportunity for further investigation Or discovery; and (4) the complaint
      otherwise complies with the requirements of Rule 11.

      I agree to provide the Clerk's Office with any cbanges to my address where case·related papers
      may be served. I understand tbat my failure to keep a current address on file with the Clerk's
      Office may result in tbe dismissal of my case.


       Printed Name of Plaintiff
       Prison Identification #
       Prison Address
                                                                               BI-  State
                                                                                                 ,JS'tso
                                                                                                    Zip Code




       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on      3/2{;. ')017 7
                                 A
                                 Date
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                        Signature ofPJaintiff




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